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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS



BRIANNA MURDEN,

                    Plaintiff,

        v.
                                                      Case No. 3:22-cv-01511
META PLATFORMS, INC.,
FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC,
FACEBOOK PAYMENTS, INC.,
FACEBOOK TECHNOLOGIES, LLC,
INSTAGRAM, LLC, AND
SICULUS, INC.,

                    Defendants.



                     CORPORATE DISCLOSURE STATEMENT AND
                      CERTIFICATE OF INTERESTED PARTIES

       Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Meta Platforms, Inc.,

Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook

Technologies, LLC, Instagram, LLC, and Siculus, Inc. respectfully file this Corporate Disclosure

Statement and Certificate of Interested Parties and state:

Meta Platforms, Inc.

       Meta Platforms, Inc. is a publicly-traded corporation incorporated in Delaware with its

principal place of business in Menlo Park, California. It has no parent corporation, and no

publicly-traded corporation owns more than 10% of its stock.

       Meta Platforms, Inc. has the following subsidiaries:

       Cassin Networks ApS; Edge Network Services Limited; Facebook Holdings, LLC;

Facebook Operations, LLC; Facebook Payments, Inc.; Facebook Technologies, LLC; Facebook


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UK Limited; FCL Tech Limited; Greater Kudu LLC; Hibiscus Properties, LLC; Instagram, LLC;

Meta Platforms Ireland Limited; Morning Hornet LLC; Novi Financial, Inc.; Pinnacle Sweden

AB; Raven Northbrook LLC; Runways Information Services Limited; Scout Development LLC;

Siculus, Inc.; Sidecat LLC; Stadion LLC; Starbelt LLC; Vitesse, LLC; WhatsApp LLC; Winner

LLC.



Facebook Holdings, LLC

       Facebook Holdings, LLC is incorporated in Delaware and its principal place of business is

in Menlo Park, California. Facebook Holdings, LLC is a subsidiary of Meta Platforms, Inc. The

sole member of Facebook Holdings, LLC is Meta Platforms, Inc.



Facebook Operations, LLC

       Facebook Operations, LLC is incorporated in Delaware and its principal place of business

is in Menlo Park, California. Facebook Operations, LLC is a subsidiary of Meta Platforms, Inc.

The sole member of Facebook Operations, LLC is Meta Platforms, Inc.



Facebook Payments, Inc.

       Facebook Payments, Inc. is incorporated in Florida and its principal place of business is in

Menlo Park, California.    Facebook Payments, Inc. is a wholly-owned subsidiary of Meta

Platforms, Inc.




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Facebook Technologies, LLC

       Facebook Technologies, LLC is incorporated in Delaware and its principal place of

business is in Menlo Park, California. Facebook Technologies, LLC is a subsidiary of Meta

Platforms, Inc. The sole member of Facebook Technologies, LLC is Meta Platforms, Inc.



Instagram, LLC

       Instagram, LLC is incorporated in Delaware and its principal place of business is in Menlo

Park, California. Instagram, LLC is a subsidiary of Meta Platforms, Inc. The sole member of

Instagram, LLC is Meta Platforms, Inc.



Siculus, Inc.

       Siculus, Inc. is incorporated in Delaware and its principal place of business is in Menlo

Park, California. Siculus, Inc. is a wholly-owned subsidiary of Meta Platforms, Inc.




Dated: September 7, 2022

                                                Respectfully submitted,


                                                /s/ Patricia Brown Holmes
                                                Patricia Brown Holmes (ARDC No. 6194645)
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                                                Chicago, Illinois 60602




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                                    Attorney for Defendants Meta Platforms, Inc.,
                                    Facebook Holdings, LLC, Facebook Operations,
                                    LLC, Facebook Payments, Inc., Facebook
                                    Technologies, LLC, Instagram, LLC, and Siculus,
                                    Inc.




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                                CERTIFICATE OF SERVICE

       I certify that, on September 7, 2022, a true and correct copy of this Corporate Disclosure

Statement and Certificate of Interested Parties was served by ECF on all counsel of record.



                                             /s/ Patricia Brown Holmes
                                                 Patricia Brown Holmes




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